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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA

Vv. Case No. 6:08-cr-176-Orl-28GJK
(Forfeiture)

FRANK L. AMODEO
FINAL ORDER OF FORFEITURE
THIS CAUSE comes before the Court upon the filing of the Motion by the
United States for a Final Order for the following properties:

(1) $13,100.99 in proceeds seized from Fifth Third Bank Account No.
7440599020 in the name of Soone Business Development, and

(2) $565,172.67, the net proceeds from the sale of 614 Lake Avenue,
Orlando, Florida.

Being fully advised in the premises, the Court finds that on October 2,
2008 and March 31, 2009, the Court entered Preliminary Orders of Forfeiture,
(Docs. 46 and 75), forfeiting to the United States of America all right, title, and
interest of defendant Frank L. Amodeo in the above-referenced assets.

The Court further finds that the only persons or entities, other than Frank
L. Amodeo, known to have any potential alleged interest in the Soone Business
Development bank account are the corporations previously controlled by
Amodeo, including Mirabilis Ventures, Inc. (“Mirabilis”) and AEM, Inc. (“AEM”),
and Jodi Jaiman, President of Soone Business Development. The only persons,
other than Frank L. Amodeo, known to have any potential alleged interest in the
proceeds of the sale of the Lake Avenue property is Amodeo's wife, Claire

Holland.
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Additionally, the Court finds that Jodi Jaiman, President of Soone
Business Development has consented the forfeiture of the $13,100.99 in
proceeds seized from Fifth Third Bank Account No. 7440599020 in the name of
Soone Business Development. The Court further finds that Mirabilis and AEM
have consented to the forfeiture of the subject assets, as is reflected in the
bankruptcy court order issued in each company’s bankruptcy case, /n re:
Mirabilis Ventures, Inc., Case No. 6:08-bk-04327-KSJ, and /n re: AEM, Inc.,
Case No. 6:08-bk-04681-KSJ.

Pursuant to this Court's Order issued on March 18, 2009, the United
States was Excused from Duplicative Publication Requirement because
publication of the forfeiture of the assets identified in the Preliminary Order of
Forfeiture was completed in connection with the parallel civil forfeiture, United
States v. Real Property located at 614 Lake Avenue, et al., Case No. 6:08-cv-
670-Orl-22KRS. (Doc. 65). As reflected in that Order, the notice of forfeiture of
these assets was published on an official government website
(www. forfeiture.gov) for at lease 30 consecutive days, beginning on September
26, 2008 and ending on October 25, 2008. The Court finds that, to date, no
other persons or entities have filed a petition to adjudicate their interest in the
subject properties and the time for filing such petition has expired. Accordingly, it
hereby

ORDERED, ADJUDGED, and DECREED that for good cause show, the

United States’ motion is GRANTED.
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Itis FURTHER ORDERED that all right, title, and interest in the
referenced assets is CONDEMNED and FORFEITED to the United States of
America for disposition according to law, pursuant to 18 U.S.C. § 981(a)(1)(C),
28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(c)(2).

It is FURTHER ORDERED that clear title to the properties is now vested
in the United States of America.

DONE and ORDERED this 5 day of April, 009, in Orl do, Florida.

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aad STATES-BISTRICT JUDGE

 
